               Case 25-11354-JNP                   Doc 1        Filed 02/10/25 Entered 02/10/25 12:11:13                                Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7

                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  06/24
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Daryl
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Fred
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Heller
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
     doing business as names.
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-1231
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Daryl Fred Heller                                                                         Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 909 Greenside Drive
                                 Lititz, PA 17543
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Lancaster
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                 Check one:
     bankruptcy                        Over the last 180 days before filing this petition,
                                       I have lived in this district longer than in any               Over the last 180 days before filing this petition, I
                                       other district.                                                have lived in this district longer than in any other
                                                                                                      district.
                                       I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               I have another reason.
                                                                                                      Explain. (See 28 U.S.C. § 1408.)
                                 Debtor's principal asset is located at 7605
                                 Pleasure Ave. Sea Isle, NJ




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Debtor 1    Daryl Fred Heller                                                                             Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7

                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 1    Daryl Fred Heller                                                                             Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code, and           operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    are you a small business       in 11 U.S.C. § 1116(1)(B).
    debtor?
    For a definition of small         No.      I am not filing under Chapter 11.
    business debtor, see 11
    U.S.C. § 101(51D).                         I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                      No.
                                               Code.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Daryl Fred Heller                                                                          Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Daryl Fred Heller                                                                             Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Daryl Fred Heller
                                 Daryl Fred Heller                                                 Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     February 10, 2025                                 Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   Daryl Fred Heller                                                                              Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Sari B. Placona                                                Date         February 10, 2025
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Sari B. Placona
                                Printed name

                                McManimon, Scotland & Baumann, LLC
                                Firm name

                                75 Livingston Avenue
                                Suite 201
                                Roseland, NJ 07068
                                Number, Street, City, State & ZIP Code

                                Contact phone     973-622-1800                               Email address         splacona@msbnj.com
                                108842014 NJ
                                Bar number & State




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 Fill in this information to identify your case:

 Debtor 1                     Daryl Fred Heller
                              First Name                Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)          First Name                Middle Name                      Last Name


 United States Bankruptcy Court for the:          DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                 Check if this is an
                                                                                                                                            amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                            Unsecured claim
 1                                                            What is the nature of the claim?                                               $40,000,000.00
              Needham Bank
              c/o Joseph Campanelli, Pres. &                  As of the date you file, the claim is: Check all that apply
              CEO                                                     Contingent
              1063 Great Plain Avenue                                   Unliquidated
              Needham, MA 02492                                         Disputed
                                                                        None of the above apply

                                                              Does the creditor have a lien on your property?

                                                                        No
              Contact                                                   Yes. Total claim (secured and unsecured)
                                                                              Value of security:                                    -
              Contact phone                                                   Unsecured claim


 2                                                            What is the nature of the claim?                                               $23,000,000.00
              Silverview Credit Partners
              c/o Jeffrey Marcus, Managing                    As of the date you file, the claim is: Check all that apply
              Director                                                Contingent
              100 South Ashley Drive, Ste 600                           Unliquidated
              Tampa, FL 33602                                           Disputed
                                                                        None of the above apply

                                                              Does the creditor have a lien on your property?

                                                                        No
              Contact                                                   Yes. Total claim (secured and unsecured)
                                                                              Value of security:                                    -


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 Debtor 1          Daryl Fred Heller                                                      Case number (if known)

            Contact phone                                                Unsecured claim


 3                                                     What is the nature of the claim?                                              $22,000,000.00
            Chicago Atlantic Advisors, LLC
            c/o Elizabeth Quinlivan, VP                As of the date you file, the claim is: Check all that apply
            420 North Wabash Ave, Ste 500                      Contingent
            Chicago, IL 60611                                    Unliquidated
                                                                 Disputed
                                                                 None of the above apply

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -
            Contact phone                                              Unsecured claim


 4                                                     What is the nature of the claim?                                              $12,000,000.00
            Libertas Funding
            c/o Randy Saluck, CEO                      As of the date you file, the claim is: Check all that apply
            411 W. Putnam Ave, Ste 220                         Contingent
            Greenwich, CT 06830                                  Unliquidated
                                                                 Disputed
                                                                 None of the above apply

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -
            Contact phone                                              Unsecured claim


 5                                                     What is the nature of the claim?                                              $9,000,000.00
            Needham Bank
            c/o Joseph Campanelli, Pres. &             As of the date you file, the claim is: Check all that apply
            CEO                                                Contingent
            1063 Great Plain Avenue                              Unliquidated
            Needham, MA 02492                                    Disputed
                                                                 None of the above apply

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -
            Contact phone                                              Unsecured claim


 6                                                     What is the nature of the claim?                                              $6,000,000.00
            Deerfield Capital, LLC
            c/o Eric Warfel                            As of the date you file, the claim is: Check all that apply
            16 Deerfield Road                                  Contingent
            Lancaster, PA 17603                                  Unliquidated
                                                                 Disputed
                                                                 None of the above apply



B 104 (Official Form 104)              For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    Page 2
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 Debtor 1          Daryl Fred Heller                                                      Case number (if known)

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -
            Contact phone                                              Unsecured claim


 7                                                     What is the nature of the claim?                                              $5,000,000.00
            Reliance Platinum
            633 167th St, Ste 804                      As of the date you file, the claim is: Check all that apply
            Miami, FL 33162                                    Contingent
                                                                 Unliquidated
                                                                 Disputed
                                                                 None of the above apply

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -
            Contact phone                                              Unsecured claim


 8                                                     What is the nature of the claim?                                              $5,000,000.00
            Needham Bank
            c/o Joseph Campanelli, Pres. &             As of the date you file, the claim is: Check all that apply
            CEO                                                Contingent
            1063 Great Plain Avenue                              Unliquidated
            Needham, MA 02492                                    Disputed
                                                                 None of the above apply

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -
            Contact phone                                              Unsecured claim


 9                                                     What is the nature of the claim?                                              $3,500,000.00
            UniBank
            c/o Yuko Elliot, SVP                       As of the date you file, the claim is: Check all that apply
            19315 Highway 99                                   Contingent
            Lynnwood, WA 98036                                   Unliquidated
                                                                 Disputed
                                                                 None of the above apply

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -
            Contact phone                                              Unsecured claim


 10                                                    What is the nature of the claim?                                              $3,100,000.00
            Orrstown Bank
            c/o Tom Cislo, VP


B 104 (Official Form 104)              For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                   Page 3
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 Debtor 1          Daryl Fred Heller                                                      Case number (if known)

            1589 Commerce Drive                        As of the date you file, the claim is: Check all that apply
            Lancaster, PA 17601                                Contingent
                                                                 Unliquidated
                                                                 Disputed
                                                                 None of the above apply

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -
            Contact phone                                              Unsecured claim


 11                                                    What is the nature of the claim?                                              $1,500,000.00
            Funders App, LLC (Fondonatics)
            c/o Michele David                          As of the date you file, the claim is: Check all that apply
            3323 NE 163rd St, Ste 401                          Contingent
            North Miami Beach, FL 33160                          Unliquidated
                                                                 Disputed
                                                                 None of the above apply

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -
            Contact phone                                              Unsecured claim


 12                                                    What is the nature of the claim?                                              $1,500,000.00
            First National Bank
            c/o Steven Markunas                        As of the date you file, the claim is: Check all that apply
            1205 Westlakes Drive                               Contingent
            Suite 260, 2nd Floor                                 Unliquidated
            Berwyn, PA 19312                                     Disputed
                                                                 None of the above apply

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -
            Contact phone                                              Unsecured claim


 13                                                    What is the nature of the claim?                                              $1,500,000.00
            Mid Penn Bank
            c/o Pamela Keefer                          As of the date you file, the claim is: Check all that apply
            349 Union Street                                   Contingent
            Millersburg, PA 17061                                Unliquidated
                                                                 Disputed
                                                                 None of the above apply

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -


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 Debtor 1          Daryl Fred Heller                                                      Case number (if known)

            Contact phone                                                Unsecured claim


 14                                                    What is the nature of the claim?                                              $1,350,000.00
            Orrstown Bank
            c/o Tom Cislo, VP                          As of the date you file, the claim is: Check all that apply
            1589 Commerce Drive                                Contingent
            Lancaster, PA 17601                                  Unliquidated
                                                                 Disputed
                                                                 None of the above apply

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -
            Contact phone                                              Unsecured claim


 15                                                    What is the nature of the claim?                                              $1,300,000.00
            Orrstown Bank
            c/o Tom Cislo, VP                          As of the date you file, the claim is: Check all that apply
            1589 Commerce Drive                                Contingent
            Lancaster, PA 17601                                  Unliquidated
                                                                 Disputed
                                                                 None of the above apply

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -
            Contact phone                                              Unsecured claim


 16                                                    What is the nature of the claim?                                              $750,000.00
            Traditions Bank
            c/o Krista Blasser                         As of the date you file, the claim is: Check all that apply
            226 Pauline Drive                                  Contingent
            York, PA 17402                                       Unliquidated
                                                                 Disputed
                                                                 None of the above apply

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -
            Contact phone                                              Unsecured claim


 17                                                    What is the nature of the claim?                                              $500,000.00
            Univest
            c/o Ryan Boyd, VP                          As of the date you file, the claim is: Check all that apply
            1869 Charter Lane                                  Contingent
            Lancaster, PA 17605                                  Unliquidated
                                                                 Disputed
                                                                 None of the above apply



B 104 (Official Form 104)              For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                   Page 5
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 Debtor 1          Daryl Fred Heller                                                      Case number (if known)

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -
            Contact phone                                              Unsecured claim


 18                                                    What is the nature of the claim?                                              $400,000.00
            First National Bank
            c/o Steven Markunas                        As of the date you file, the claim is: Check all that apply
            1205 Westlakes Drive                               Contingent
            Suite 260, 2nd Floor                                 Unliquidated
            Berwyn, PA 19312                                     Disputed
                                                                 None of the above apply

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -
            Contact phone                                              Unsecured claim


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Daryl Fred Heller                                                  X
       Daryl Fred Heller                                                          Signature of Debtor 2
       Signature of Debtor 1


       Date      February 10, 2025                                                Date




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                        Chicago Atlantic Advisors, LLC
                        c/o Elizabeth Quinlivan, VP
                        420 North Wabash Ave, Ste 500
                        Chicago, IL 60611


                        Deerfield Capital, LLC
                        c/o Eric Warfel
                        16 Deerfield Road
                        Lancaster, PA 17603


                        First National Bank
                        c/o Steven Markunas
                        1205 Westlakes Drive
                        Suite 260, 2nd Floor
                        Berwyn, PA 19312


                        Funders App, LLC (Fondonatics)
                        c/o Michele David
                        3323 NE 163rd St, Ste 401
                        North Miami Beach, FL 33160


                        Libertas Funding
                        c/o Randy Saluck, CEO
                        411 W. Putnam Ave, Ste 220
                        Greenwich, CT 06830


                        Mid Penn Bank
                        c/o Pamela Keefer
                        349 Union Street
                        Millersburg, PA 17061


                        Needham Bank
                        c/o Joseph Campanelli, Pres. & CEO
                        1063 Great Plain Avenue
                        Needham, MA 02492


                        Orrstown Bank
                        c/o Tom Cislo, VP
                        1589 Commerce Drive
                        Lancaster, PA 17601


                        Reliance Platinum
                        633 167th St, Ste 804
                        Miami, FL 33162
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                    Silverview Credit Partners
                    c/o Jeffrey Marcus, Managing Director
                    100 South Ashley Drive, Ste 600
                    Tampa, FL 33602


                    Traditions Bank
                    c/o Krista Blasser
                    226 Pauline Drive
                    York, PA 17402


                    UniBank
                    c/o Yuko Elliot, SVP
                    19315 Highway 99
                    Lynnwood, WA 98036


                    Univest
                    c/o Ryan Boyd, VP
                    1869 Charter Lane
                    Lancaster, PA 17605
